









Petition for Writ of Mandamus Denied and Memorandum Opinion filed April
6, 2006









&nbsp;

Petition for Writ of Mandamus Denied and Memorandum
Opinion filed April 6, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00274-CV

____________

&nbsp;

IN RE DANIEL EDWARDS, IV, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On March 27, 2006, relator
filed a petition for writ of mandamus in this court.&nbsp; See Tex.
Gov=t Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp; In the petition, relator
asked this court to compel the Honorable Thomas Routt, formerly the presiding
judge of the 208th Judicial District Court of Harris County, to vacate the
orders granting, and subsequently revoking, relator=s probation.

Relator has not established that he is
entitled to mandamus relief.&nbsp;
Accordingly, we deny relator=s petition for writ of mandamus. 

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed April 6, 2006.

Panel consists of
Chief Justice Hedges, Justices Yates and Guzman.





